                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA

CHRISTOPHER RYAN HARM                                  CIVIL ACTION

VERSUS                                                 NO. 19-14662

MESCHIYA RACHEL LAKE-HARM                              SECTION "B"(2)

                                 ORDER

     Considering petitioner’s “Ex Parte Motion for Issuance of

Order Pursuant to 22 U.S.C. § 9004” (Rec. Doc. 5),

     IT IS ORDERED that the motion is GRANTED. This order only

addresses the petitioner’s request for issuance of a show cause

order and makes no determination as to the merits of the “Petition

for return of the Child” (Rec. Doc. 1).

     Upon   considering   the   verified   petition   for   return,   The

Convention on the Civil Aspects of International Child Abduction,

and the International Child Abduction Remedies Act,

     IT IS FURTHER ORDERED that respondent, Meschiya Rachel Lake-

Harm, is prohibited from removing the minor child, SLH, or causing

the minor child to be removed from the jurisdiction of this court,

pending final disposition of the above referenced petition for

return;

     IT IS FURTHER ORDERED that respondent, Meschiya Rachel Lake-

Harm, shall appear before this court on Wednesday, January 15,

2020 at 9:00 a.m. with any and all passports and travel documents

for the minor child. The initial appearance shall be considered an
initial show cause hearing and scheduling hearing, so that a date

may be set for an expedited evidentiary hearing on the merits of

the “Petition for Return of the Child” (Rec. Doc. 1).

      Failure to comply with this order or timely show cause why

it   should   be   vacated   or   modified   may   lead   to   sanctions,

including but not limited to contempt of court and a warrant for

arrest of the non-complying party.


     New Orleans, Louisiana this 8th day of January, 2020




                                  ___________________________________
                                  SENIOR UNITED STATES DISTRICT JUDGE



CLERK TO NOTIFY:
MESCHIYA RACHEL LAKE-HARM
3117 PALMYRA STREET
NEW ORLEANS, LA 70119
